               Case 21-1365, Document 261, 02/21/2023, 3471543, Page1 of 2



21-1365
Selina Soule et al. v. Connecticut Association of Schools et al.



                             United States Court of Appeals
                                                        FOR THE
                                               SECOND CIRCUIT
                                               _________________


                                                      ORDER

             At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 21st day of February, two thousand twenty-three.

____________________________________________________


Selina Soule, a minor, by Bianca Stanescu, her mother; Chelsea Mitchell, a minor,
by Christina Mitchell, her mother; Alanna Smith, a minor, by Cheryl
Radachowsky, her mother; Ashley Nicoletti, a minor, by Jennifer Nicoletti, her
mother,

                                     Plaintiffs-Appellants,

                  v.                                                    21-1365

Connecticut Association of Schools, Inc. d/b/a Connecticut Interscholastic Athletic
Conference; Bloomfield Public Schools Board of Education; Cromwell Public
Schools Board of Education; Glastonbury Public Schools Board of Education;
Canton Public Schools Board of Education; Danbury Public Schools Board of
Education,

                                     Defendants-Appellees,

                                     and

Andraya Yearwood; Thania Edwards, on behalf of her daughter, T.M.; Commission
on Human Rights and Opportunities,

                                     Intervenor-Defendants-Appellees.
           Case 21-1365, Document 261, 02/21/2023, 3471543, Page2 of 2




____________________________________________________

       Pursuant to the Order filed on February 13, 2023, appellants’ brief and
appendix shall be filed by March 23, 2023. Appellees’ brief and appendix shall be
filed by April 24, 2023. Appellants’ reply brief shall be filed by May 4, 2023.

      The parties are instructed to brief the following issues:

      1.     Whether Plaintiffs-Appellants have alleged an injury-in-fact resulting
             from Defendants-Appellees’ “Transgender Participation” policy.

      2.     Whether Plaintiffs-Appellants have alleged an injury-in-fact
             redressable by ordering the alteration of athletic records.

      3.     Whether Plaintiffs-Appellants are barred by the Pennhurst doctrine
             from seeking monetary damages in relation to their claim brought
             pursuant to Title IX of the Education Amendments Act of 1972.

       We invite amicus curiae briefs from interested parties. Any amicus curiae
must file its brief no later than 7 days after the principal brief of the party being
supported is filed. An amicus curiae that does not support either party must file its
brief no later than 7 days after the appellant’s principal brief is filed.

      Oral argument will be held on June 6, 2023 at 2:00 PM the Thurgood Marshall
United States Courthouse, 40 Foley Square, New York, New York.


                                       FOR THE COURT:
                                       Catherine O’Hagan Wolfe, Clerk
